Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 1 of 12

U.S. Department of Homeland Security

US. Citizenship end Immigration Services
June 13, 2023 Nationai Benefils Center

P.O. Box 648004
Lee's Summit, MO 64002

PART APL

e U.S, Citizenship
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Ao,

RACHEAL ONYEWELIEHI LUCKY
3642 WINDING TRAIL DRIVE
DOUGLASVILLE, GA 30135

IOE09 19458977
RE: I-131, Application for Travel Document

A219-638-139

DECISION

Dear RACHEAL LUCKY:

After a thorough review of your application and supporting documents, we have denied your Form I-131, Application
for Travel Document, that you submitted on February 21, 2023, You applied under section 212(d)(5)(A) of the
Immigration and Nationality Act (INA). We have denied your application for the reasons noted below.

Generally, we exercise discretion to issue advance parole under INA 212(d)(5)(A) to applicants who:
e Have a pending Form J-485, Application to Register Permanent Residence or Adjust Status;
e Filed their Form I-131 with or after filing Form 1-485;

e Are present in the United States after being inspected and admitted or paroled; and
e Are not in immigration proceedings or under an order of deportation, removal, or exclusion.

Statement of Facts and Analysis, Including Reason(s) for Denial
A review of USCIS records indicates that your Form 1-485 was denied on December 2, 2022.
Since you no longer have a pending Form 1-485, USCIS will not issue you an advance parole document at this time.

Therefore, we have denied your Form I-131. This decision has no effect on future applications you may file with
USCIS.

Responding to This Decision
You may not appeal this decision. However, if you believe your Form I-131 was denied in error, you may file a

motion to reopen and/or a motion to reconsider using Form [-290B, Notice of Appeal or Motion. You must submit
Form I-290B by July 16, 2023, See Title 8, Code of Federal Regulations (8 CFR), section 103.5.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 2 of 12

Mail your Form 1-290B and the current fee to:

USCIS
Attn: AOS
P.O. Box 805887
Chicago, IE 60680

To find Form I-290B or if you need more information, you can use our many online tools (uscis.pov/tools) including
our virtual assistant, Emma. If you are not able to find the information you need online, you can reach out to the
USCIS Contact Center by visiting uscis.gov/contact center,

Sincerely,

Mobr grr

Terri A. Robinson
Director
Officer: LA0894

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 3 of 12

Attachment
(Applicable Law/Regulations)

INA 212(d){5)(A} The Attomey General may, except as provided in subparagraph (B) or in section 224(f) , In his discretion parole into the United States temporarily under such conditions as he may prescribe only on a
case-by-case basis for urgent humanitarian reasons or significant public benefit any atien applying for admission to the United States, bul such parofg of such alien shall not be regarded aa an admission of the alien and
when the purposes of such parole shall, in the opinion of ihe Attorney General, have been served the alien shall forthwith return or be retumed to the custody from which he was paroled and thereaftes his case shall

continue to be dealt with in the same manner as that of any other applicant for admission to the United States.

INA 245(a) The status of an alien who was inspected and admitted or paroled into the United States or the slafus of any other allen having an approved pétition for classificatlon as a VAWA self-petitioner may be adjusted

by the Atlomey General, in his discretion and under such regulations ay he may prescribe, 49 that of an alien lawfully admitted for permancat residence if (1) the atlen makes an application for such adjustment, (2) the alien

is eligible to receive an i at visa and is admissible to the United States for permanent residence, and (3) an immigrant visa is immediately avaitabte to bim at the time Bis application is filed.

8 CFR 103.2(b) Evidence and processing. (1) Demonstrating eligibitity. An applicant or petitioner must establish that ho or she is cligible for the requested benefit at tho time of filing the benofit request and neust continue
to bo cligible through adjudication, Eack benefit request must be properly completed and filed with ell initial evidence required by appticable regulations and other USCIS instructions. Any evidence submitted in
tonnection with a benefit request Is incorporated into and considered part of the request. (8)(ii) Initial evidence, Ef all required inilial evidence is not submitted with the benefit request or dees not demonstrate cligibitity,
USCIS in its discretion may deny the benefit request for lack of initial evidence or for ineligibility or request that the missing initial evidence be submitted withina specified period of time as determined by USCIS. (12)
Effect where evidence submitted in response to a request does not establish eligibility at the time of fling, A benefit request shall be denied here evidence submitted in response fo a request for evidence does not
establish filing eligibility at the time the benefit request waa filed. A benefit request shall be denied where any benefit request upon which it was based was filed subsequently. (13} Bffect of failure to respond to a request
for evidence or a notice of intent to deny or to appear for interview or biometrics capture -- (i} Pailure to submit evidence or respond to a notice of intent to deny, If the petitioner or applicant fails te respond to a request for
evidence or lo a notice of intent to deny by the required date, the benefit request may be summarily denied as abandoned, denied based on the record, or denied for both reasons. Hf other requested material necessary to the

processing and approval of a case, such as photographs, are not submitted by the required date, the application Inay be summarily denied as abandoned,

& CEFR £03,5(a) Motions to reopen or reconsider in other than special agricultural worker and legalization cases— (1) Whea filed by affected party— (i} General. ... when the affected party files a motion, the official
having jurisdiction may, for proper cause shown, reopen the proceeding or reconsider the prior decision, .., Gil) Filing Requirements—A motion shall be submitted on Form 1-290B and may be accompanied by a brief. ,..
(2} Requirements far motion to reopen. A motion to reopen must state the new facts to be proved in the reopened proceeding and be supported by affidavits or other documentary evidence. A motion to reopen an
application or petition denied due to abandonment must be filed with evidence that the decision was in error because: (1) The requested evidence was not material to the issue of eligibility; (ii} The required initial evidence
was submitted with the application or petition, or the eequest for inltial evidence or additional information or appearance was complied with during the allotted period; or (fii) The request for additional information or
appearance was sent to an address other than that on the application, petition, or notice of representation, or that the applicant or petitioner advised the Service, in wating, of a change of address or change of representation
subsequent to Filing and before the Service's request was sent, and the request did not go to the new address. (3) Requirements for motion to reconsider. A motion fo reconsider must state the ressong for reconsideration
and be supported by any pertinent precedent decisions to establish that the decision was based on an incorrect application of taw or Service policy. A motion to reconsider a decision on an application or petition must,

when filed, also establish that the decision was incorrect based on the evidence of record af the dime of the initial decision.

§ CFR 245.2{a}(4) Effect of departare — (li) Under section 245 of the Act . (4) The departure from the United States of an applicant who is under exclusion, deportation, or removal proceedings shall be deemed an
abandonment of the application constituting grounds for lermination of the proceeding by reason of the departure, Except as provided in: paragraph (a)(4)(i)() and (C) of this section, the departure of an applicant who is

rot ander exclusion, deportation, or removal proceedings shall be deeracd an aband ofthe

pplication constituting grounds for termination of any pending application for adjustment of status, unless the applicant
waa previously granted advance parole by the Service for such absences, and was inspected upon retuming to the United States, If the adjustment application of an individual granted advance parole is subsequently denied

the individual will be treated 3 an applicant for admission, and subject to the provisions of section 212 and 235 of the Act.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 4 of 12

U.S, Depariment of Homeland Security
U.S. Citizenship and Immigration Services
National Benefits Center

P.O. Box 648004

Lee's Summit, MO 64002

June 13, 2023

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Rear U.S. Citizenship
AeeeV and Immigration

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DIVINE NNEKA LUCKY mm NU

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DOUGLASVILLE, GA 30135

TOE0919458973
RE: J-131, Application for Travel Document

A219-638-137

DECISION

Dear DIVINE LUCKY:

After a thorough review of your application and supporting documents, we have denied your Form J-131, Application
for Travel Document, that you submitted on February 21, 2023. You applied under section 212(d)(5)(A) of the
Immigration and Nationality Act (INA), We have denied your application for the reasons noted below.

Generally, we exercise discretion to issue advance parole under INA 212(d)(5)(A) to applicants who:

e Have a pending Form I-485, Application to Register Permanent Residence or Adjust Status;
Filed their Form 1-131 with or after filing Form 1-485;

Are present in the United States after being inspected and admitted or paroled; and

e Are not in immigration proceedings or under an order of deportation, removal, or exclusion.

Statement of Facts and Analysis, Including Reason(s) for Denial
A review of USCIS records indicates that your Form I-485 was denied on December 2, 2022.
Since you no longer have a pending Form 1-485, USCIS will not issue you an advance parole document at this time,

Therefore, we have denied your Form I-131, This decision has no effect on future applications you may file with
USCIS.

Responding to This Decision
You may not appeal this decision. However, if you believe your Form I-131 was denied in error, you may file a

motion to reopen and/or a motion to reconsider using Form [-290B, Notice of Appeal or Motion. You must submit
Form [-290B by July 16, 2023. See Title 8, Code of Federal Regulations (8 CFR), section 103.5.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 5 of 12

Mail your Form 1-290B and the current fee to:

USCIS
Attn: AOS
P.O, Box 805887
Chicago, IL 60680

To find Form I-290B or if you need more information, you can use our many online tools (uscis.gov/tools) including
our vittual assistant, Emma. Ifyou are not able to find the information you need online, you can reach out to the
USCIS Contact Center by visiting uscis.g0v/contact center.

Sincerely,

Meobir gor

Terri A. Robinson
Director
Officer: LA0894

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 6 of 12

Attachment
(Applicable Law/Regulations)

INA 212(d}(5)(A) The Attorney General may, except as provided in subparagraph (3) or in section 214(6) , in his discretion parole into the United States temporarily under such conditions as he may prescribe only on a

case-by-case basis for urgent humanitarian reasons or significant public benefit any alies applying for admission to the United States, but such parole of such alien shall not be regarded as an admission of the alien and

when the purposes of such parole shall, in the opinion of the Attomey General, have been served the align shall forthwith return or be returned to the custedy from which he was paroled and thereafter his case shall

continue fo be dealt with in the same manner as that of any other applicant for admission to the United States.

INA 245(s) The status of an slien who was inspected and admitted or paroled into the United States or tho status of any other aljen haying an approved petition for classification as a VAWA scil-petitioner may be adjusted

hy the Attorney General, in his discretion and under such regulations as he may prescribe, to that of an alien lawfully admitted for permanent residence if (1) the allen makes an application for such adjustment, (2) the alien

is eligible to receive an immigrant visa and is admissible ta the United States for permanent residence, and (3) an immigrant visa is immediately available to him at the time his application is filed.

8 CFR 103.2(b) Evidence and processing. (1) Demonstrating cligibility, An applicant or petitioner must establish that ke or she is eligible for the requested benefit al the time of filing the benefit request and must continus

to be eligible through adjudication. Hach benefit request must be properly completed and filed with all initial evidence required by applicable regulations and other USCIS instructions. Any evidence submitted in

connection with a benefit request is incorporated into and idered part of the request. (8\(ii) Initial evidence. Ifali required initial evidence is not submitted with the benefit request or does not demonstrate eligibility,

USCIS in its discretion may deny the benefit request for lack of initial evidence or for ineligibility or request that the missing initial evidence be submitted within a specified period of time as determined by USCIS. (12)

Effect where evideace submitted in response to a request does not establish eligibility at the dime of filing. A benefit request shall be dented where evidesce submitted in response to a request for evidence docs not
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processing and approval of a case, such as photographs, are not submitted by the required date, the application may be summarily denied as abandoned.

8 CER 103.5(a) Motions to reopen or reconsider in other than special agricultural worker and legalization cases—{1) When filed by affected parly— {i} General. ... when the affected party files a motion, the official

having jurisdiction may, for proper cause shown, reopen the proceeding or reconsider the prior decision. ... (i) Filing Requirements—A motion shall be submitted on Form 1-2908 and may be accompanied by a brief...
(2) Requizements for motion to reopen. A motion to reapcn must state the new facts ta be proved in the reopened proceeding and be supported by affidavits or other documentary evidence. A motion to reopen att
application or petition denied due to abandonment must be fited with evidence that the decision was in errar because: (} The requested evidence was not material to the issue of elipibitity; Gi} The required Initial evidence

was submitted with the application or petition, or the request for initial evidence or additional information or appearance was complied with during the allotted period; or (ili) The request for additional information or

appearance was sent to an address other than that an the application, petition, or notice of rep ion, or that the applicant or petitioner advised the Service, in writing, ofa change of address or change of representation
subsequent to filing and before the Service's request was seat, and the request did not go to the new address. (3) Req i for motion to ider. A motion {o reconsider ruust state the reasons for reconsideration
and be supported by any pertinent precedent decisions to biish that the deciston was based on an incorrect eppilcation of law or Service palicy. A motion to reconsider a decision on an application or petition must,

when filed, also establish that the decision was incartect based on the evidence of record at the time of the initial decision.

& CER 245, 2(aiA) Effect of departure — (i) Under section 245 of the Act . (A) Tho departure from the United States of an appiicant who is under exclusion, deportation, or removal proceedings shall be deemed an

abandonment of the application constituting grounds for termination of the proceeding by reason of the departure. Except as provided In paragraph (a)(4}(:)(B} and (C) of this section, the departure of an applicant who is

not under exefusion, deportation, or removal proceedings shall be deemed an abandonment of the application constituting grounds for terminati of any pending application for adjustment of status, unless the applicant
was previously granted adyanco parole by the Service for such absences, and was inspected upon zeluming to the United States, Ifthe adjustment application of an individual granted advance parole is subsequently denied

the individual val! be treated as an applicant for admission, and subject to the provisions of section 212 and 235 of the Act,

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 7 of 12

U.S. Department of Homeland Security

U8, Citizenship and Immigration Services
June 13, 2023 National Benefits Center

P.O. Box 648004

Lee's Summit, MO 64062

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FAVOUR CHIKA LUCKY SABES

3642 WINDING TRAIL DRIVE

DOUGLASVILLE, GA 30135

1OB0919458971

RE: I-131, Application for Travel Document

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A219-638-138

DECISION

Dear FAVOUR LUCKY:

After a thorough review of your application and supporting documents, we have denied your Form J-131, Application
for Travel Document, that you submitted on February 21, 2023. You applied under section 212(d)(5)(A) of the
Immigration and Nationality Act (INA). We have denied your application for the reasons noted below.

Generally, we exercise discretion to issue advance parole under INA 212(d)(5)(A) to applicants who:

Have a pending Form 1-485, Application to Register Permanent Residence or Adjust Status;
Filed their Form 1-131 with or after filing Form [-485;

Are present in the United States after being inspected and admitted or paroled; and

Are not in immigration proceedings or under an order of deportation, removal, or exclusion.

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Statement of Facts and Analysis, Including Reason(s) for Denial
A teview of USCIS records indicates that your Form I-485 was denied on December 2, 2022.
Since you no longer have a pending Form 1-485, USCIS will not issue you an advance parole document at this time.

' Therefore, we have denied your Form J-131. This decision has no effect on future applications you may file with
USCIS,

Responding te This Decision
You may not appeal this decision. However, if you believe your Form I-131 was denied in error, you may file a

motion to reopen and/or a motion to reconsider using Form I-290B, Notice of Appeal or Motion. You must submit
Form 1-290B by July 16, 2023, See Title 8, Code of Federal Regulations (8 CFR), section 103.5.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 8 of 12

Mail your Form I-290B and the current fee to:

USCIS
Attn: AOS
P.O. Box 805887
Chicago, IL 60680

To find Form 1-290B or if you need more information, you can use our many online tools (uscis.gzov/tools) including
our virtual assistant, Emma. If you are not able to find the information you need online, you can reach out to the
USCIS Contact Center by visiting uscis.gov/contact center,

Sincerely,

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Terri A, Robinson
Director
Officer: LAQ8&94

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 9 of 12

Attachment
(Applicable Law/Regulations)

TNA 212(d\(3){A) The Atomey General may, except as provided in subparagraph (B) or in section 214(f) , in his disceetion parole into the United Stales fetnporarily under such conditions as he may prescribe only ona
case-by-case basis for urgent humanitarian reasons or significant public benofit any alien applying for edmission te the United States, but such parole of such alien shall nat be regarded as an admission of the alien and
when the purposes of such parole shall, in the opinion of the Afamey Genetal, have been served the alien shall forthwith return or be returned to the custody from which he was paroled and thereafter his case shali

sontioue fo be dealt with in the sante manner as that of any other applicant for admission to the United States,

INA 245(a) The status of an alien who was inspected and admitted or paroled into the United States or the status of any other alien having an approved petition for classification as a VAWA. self-petitioner may be adjusted

by the Attorney General, in his discretion and vader such regulations as he may prescribe, to that of an alien lawfully admitted for permsanent residence if (1} the alien makes an fon for such adj nt, (2) the alien

is eligible to recelve an immigrant visa and is admissible to the United States for permanent residence, and (3) an insmigrant visa 4s immediately available 10 hint at the time his application is filed.

3 CFR 103.20) Evidence and processing. (1) Demonstrating eligibility. An applicant or pelitioner must establish that he or she is eligible for the requested benefit at the time of filing the beaefit request and must continue

to be eligible through adjudication, Fach benefit request must be properly completed and filed with alf initial evidence required by applicable reguiations and other USCIS instructions. Any evidence submitted in
connection with a benefit request is incorporated into and considered pant of the request. (8H) Initial evidence. 1f all required inital evidence is not submitted with the benefit tequest or docs nol demonstrate eligibility,
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evidence or to a notice of intent to deny by the required date, the benefit request may be summarily denied as abandoned, denied based on the record, of denied for both reasons, Ifother requested material necessary to the

processing and approval of a case, such as photographs, are not submitted by the required date, the application may be iy denied as abandoned.

& CFR 103.5(a) Motions to reopen or ider in other than special agricultural worker and Iepalization cases— (1) When filed by affected party— (i) General, ... when the affected party files a motion, the official
having jurisdiction may, for proper cause shown, reapea the procceding or reconsider the prior decision, ... (iil) Filing Requirements—A motion shalt be submitted on Form 1-290B and tay be accompanied by a brief. ...
(2) Requirements for motion to reapen. A motion te reopen miust state the new facts to be proved in the reopened proceeding and be supported by affidavits or other documentary evidence, A motion to reopen an
application or petition denied due to abandonment must bo filed with evidence that the decision was in error because: (i) The requested evidence was not matetial to ihe issue of eligibility; (#1) The required initial evidence
was submitted with the application or petition, or the request for initial evidence or additional information or appearance was complied with during the allotted period: or (ii) The request foz additional information or
appearance was sent to an address other than thal on the apptication, petition, or notice of representation, or that the applicant or petitioner advised the Service, In writing, of a change of address or change of representation
subsequent to filing and before the Service's request was sent, and the request did nol go to the new address. (3) Requizements for motion to reconsider. A motion to reconsider must state the reasons for reconsideration
and be supported by any pertinent precedent decisions to establish that the decision was based on an incorrect application of law or Service policy. A motion to reconsider # decision on an application or petition must,

whes filed, also establish that the decision was incorrect based on the evidence of record at the time of the initial decision.

8 CFR 245.2{a)(4} Effect of departure — (i1} Under section 245 of the Act, (A} The departure from the United States of an applicant who is under exclusion, deportation, or removal proceedings shall be deemed an
abandonment of the application constituling grounds for termination of the proceeding by reason of the departure, Except as provided in paregraph {a}{4}G1}{B) and (C) of this section, the departure of an applicant whe is
not under exclusion, deportation, or removal proceedings shail be deemed an abandonment of the application constituting grounds for termination of any pending application far adjustment of status, unless the applicant
was previously granted advance parole by the Service for such absences, and was Inspected upon returning to the United States. If tho adjustment appication of an individual granted advance parole is subsequently denied

the individual will be treated 04 an applicant for admission, and subject to the provisions of section 212 and 235 of the Act.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 10 of 12

U.S. Department of Homeland Security

U.S, Cilizenship and Immigration Services
June 13, 2023 National Benefits Center

P.O, Box 648004
Lee's Summit, MO 64002
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SEE.

DOUGLASVILLE, GA 30135

RE: 1-131, Application for Travel Document

A219-638-140

DECISION

Dear ISIOMA LUCKY:
After a thorough review of your application and supporting documents, we have denied your Form I-131, Application
for Travel Document, that you submitted on February 21, 2023. You applied under section 212(d)(5)(A) of the
Immigration and Nationality Act INA). We have denied your application for the reasons noted below.
Generally, we exercise discretion to issue advance parole under INA 212(d)(5)(A) to applicants who:

e Have a pending Form 1-485, Application to Register Permanent Residence or Adjust Status;

e Filed their Form I-131 with or after filing Form I-485;

e Are present in the United States after being inspected and admitted or paroled; and
e Are not in immigration proceedings or under an order of deportation, removal, or exclusion.

Statement of Facts and Analysis, Including Reason(s) for Denial
A review of USCIS records indicates that your Form 1-485 was denied on December 2, 2022.
Since you no longer have a pending Form 1-485, USCIS will not issue you an advance parole document at this time.

Therefore, we have denied your Form I-131, This decision has no effect on future applications you may file with
USCIS,

Responding to This Decision
You may not appeal this decision. However, if you believe your Form I-131 was denied in error, you may file a

motion to reopen and/or a motion to reconsider using Form I-290B, Notice of Appeal or Motion. You must submit
Form 1-290B by July 16, 2023. See Title 8, Code of Federal Regulations (8 CFR), section 103.5.

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 11 of 12

Mail your Form I-290B and the current fee to:

USCIS
Attn; AOS
P.O. Box 805887
Chicago, LL 60680

To find Form I-290B or if you need more information, you can use our many online tools (uscis,gov/tools) including
our virtual assistant, Emma. If you are not able to find the information you need online, you can reach out to the
USCIS Contact Center by visiting uscis.gov/contact center,

Sincerely,

Motor {or

Terri A. Robinson
Director
Officer: LA0894

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Case 1:23-mi-99999-UNA Document 2906-8 Filed 09/08/23 Page 12 of 12

Attachment
(Applicable Law/Regulations)

TNA 212(d}{(5)(A} The Attomey General may, except as provided in subparagraph (B) er in section 214(6},, in his discretion parole into the United States temporarily under such condilions as he may prescribe only ona
case-by-case basis for uzgent humanitarian reasons or significant public benefil any alien applying for admission (o the United States, but such parole of such alien shail not be regarded as an admission of the alien and
when the purposes of such parole shall, in the opinion of the Attomey General, have been served the alien shall forthwith return or be returned to the custody from which he was paroled and thereafter his case shall

continue to be dealt with in the same manner as that of any other applicant for admission to the United States.

INA 245(a) Tho status of an alien who was inspected and admitted or paroled into the United States or the status of any other alien having an approved petition for classification as a VAWA self-petitioner may be adjusted
by the Attorney General, in his discretion and under such regulations as he may prescribe, fo that ofan etien tawfully admitted for permanent residence If (1) the alien makes an application for such adjustment, (2) the alien

is eligible to recelve an immigrant visa and {s admlssibte to the United States for permanent residence, and (3) an immigrant visa Is immediately available to him at the time his application is filed.

8 CFR 103.2(b) Bvidence and processing. (i) Demonstrating eligibility, An applicant or petitioner must establish that ho or she is eligible for the requested benofil al the time of filing tho benedil request and must continue
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establish filing eligibility at the time the benefit cequest was filed, A benefit request shall be denied where any benefit request upon which it was based was filed subsequently, (13) Effect of failure to respond to a request
for evidence or a notice of Intent te deny or to appear for interview or biometrics capture -- (i) Failure to submit evidence or respond to a notice of intent to dey. If the petitioner or applicant fails to respond to a request for
evidence or to a notice of intent fo deny by the required date, the benefit request may be summarily denied as abandoned, denied based on the record, or denied for both reasons, If other requested malerial necessary to the

processing and approval of a case, such as photographs, are not submitted by tho required date, the application may be sumnmarily denied as abandoned.

3 CFR 103,5(a) Motions to reopen or ider in other than speclal agricultural worker and Legalization cases— (1) When Bled by affected party— (i) General. ... when the affected party files a motion, the official
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having jurisdiction may, for proper cause shown, reapen the proceeding or reconsider the prior decision. ... (iii) Filing Requirements—A mation shall be submitted on Form 1-290H and may be accompanied by a brief, ...
(2) Requirements for motion to reopen. A motion to reopen must stale the new facts to bo proved ia the reopened proceeding and be supported by affidavits or other documentary cvidence. A motion to reopen an
applicalion or petition denied due to abandonment must be filed with evidence that the decision was in error because: (3) The requested evidence was not material to the issue of eligibility; (ii) The required initial evidence
was submitted with the application or petition, or the request for initial evidence or additional information or appearance was complied with during the allotted period; or {dii) The request for additional information or
appearance was sent to an address other than thal on the application, petition, or notice of representation, or that the applicant or petitioner advised the Service, in writing, of a change of address or change of sepresentation
subsequent to filing and before the Service's request was sent, and the request did nol go to the new address, (3) Requirements for mation to reconsider. A motion to reconsider must state the reasons for reconsideration
and be supported by any pertinent precedent decisions to establish that the decision was based on an incorrect application of law or Service policy. A motion to reconsider a decision on an application or petition must,

when filed, also establish that the decision was incorrect based on the evidence of record at the time of the initial decision,

8 CPR 245,2(a)(4) Effect of departure — (ii) Under section 245 of the Act , (A} The departure from the United States of an applicant who is under exclusion, deportation, or removat proceedings shall be deemed an
abandonment of the application constituting grounds for termination of the proceeding by reason of the departure. Except as provided in paragraph (a)(4)()(B) and (C) of this section, the departure of an applicant who Is

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hot under exclusion, deportation, or pr ings shall be deemed an abandonment of the application constituting grounds for termination of any pending application for adjustment of status, unless the applicant

was previously granted advance parole by the Service for such ab , and was inspected upon returning to the United States. ifthe adjustment application of an individual granted advance parole is subsequently denied

the individual will be treated as an applicant for admission, and subject to the provisions of section 212 and 235 of the Act.

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